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          Pro Se   I   (Rev. l2l16) Complaint for a Civil Case




                                                      Umrpo Srarps DIsrzucr CoURT
                                                                               for the

                                                                              District of

                                                                                  Division



                                                                                  )
                                                                                         Case No.          23-1548
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                                                                 \V               )
                                                                                                        SECT. t] [IAG.4
                                                                                  )
          (lYrite the full name of each plaintiffwho filing this complaint.
                                                            is
          If the names of all the plaintiffs cannot fit in the space above,       )         JuryTrial: @heckone)     flV"t E            No
          please write "see attached" in the space and attach an additional       )
          page with thefull list of                                               )
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          A'.r lx€w                                                               )
          JeN Nf,FER                   kc\br                                      )
                                                                                  )
                                                                                  )
                                                          NC                      )
                                        Defendant(s)                              )
          (Write the       name of each defendant who is being sued. If the
                         full                                                     )
          names of all the defendants cannot fit in the space above, please
          write "see attached" in the space and attach an additional page
          wtth the full list of names.)




                                                                 COMPLAINT FOR A CIVIL CASE

          I.             The Parties to This Complaint
                         A.         The Plaintiff(s)

                                    Provide the information below for each plaintiffnamed in the complaint. Attach additional pages                if
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                          B.         The   Defendant(s)                                                                                 -&TLr*-
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                                                                                                                            defendant is an
                                     Provide the information below for each defendant named in the complaint, whether the -Doc.
                                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                                     include the person's job or title (tf known). Attach additional pages if needed.

                                                                                                                                                  Page   I of   5
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Pro Se   I   (Rev. 12116) Complaint for a Civil Case


                          Defendant No. I
                                    Name                                        ko\hr
                                     Job or Title (if known)
                                     Street Address
                                     CiW and County              N    'lork
                                     State and    Zip Code
                                     Telephone Number
                                     E-mail Address (if lmown)   Q.ockrh*     Gcn*nE: . Corrl

                          Defendant No. 2
                                    Name                         5a""   L\ousaR
                                     Job or Title ftf   known)

                                     Street Address
                                     CiW and CounW
                                     State and    Zip Code               rK
                                     Telephone Number
                                     E-mail Address (if known)   'Poorseg    Qgru,,es . Corn

                          Defendant No.       3

                                    Name
                                     Job or Title (if lonwn)
                                     Street Address              Edr^horch
                                     Citv and County             Se,.ruartt>
                                     State and    Zip Code
                                     Telephone Number
                                    E-mail Address (if known)    ?oc(s-c^p NortVr. Corn

                          Defendant No. 4
                                    Name                                 t
                                    Job or Title ftf known)
                                     Street Address
                                     Citv and County
                                     State and    Zip Code
                                    Telephone Number
                                    E-mail Address (if known)

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I              Basis for Jurisdiction

               Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
               heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
               parties. Under 28 U.S.C. $ 1331, a case arising under the United States Constitution or federal laws or treaties
               is a federal question case. Under 28 U.S.C. $ 1332, a case in which a citizen of one State sues a citizen of
               another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
               diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

               What is the basis for federal court jurisdiction?              (check   all that apply)

                         ffFederalquestion                                !     niversity of citizenship


               Fill out the paragraphs in this section that apply to this               case.

               A.         If    the Basis for Jurisdiction Is a Federal Question

                          List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                          are at issue in this case.
                    r,


                           f,hmgr oF 5rrrT
               B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                           l.        The Plaintiff(s)

                                     a.         If the plaintiffis   an individual

                                                The plaintiff, hame)                                                , is a citizen of the
                                                State of hame)


                                     b.         If the plaintiffis a corporation
                                                The plaintiff, fuame)                                               , is incorporated
                                                under the laws of the State of fuame)
                                                and has its principal place of business in the State of fuame)




                                     (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                     same information for e ac h add itional pl aintiff.)

                          2.         The Defendant(s)

                                     a.         If the defendant is an individual
                                                The defendant,       (name)                                v        , is a citizenof
                                                the State of hame)                                                Or is a citizen of
                                                (foreign nation)
                                                                   ka7l.t
                                                                                                                                 Page 3   of   5
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                                     b.        Ifthe defendant is a corporation
                                                The defendant,        (name)                                     , is incorporated under
                                               the laws of the State of hame)                                              , and has its
                                                principal place of business in the State of hame)
                                                Or is incorporated under the laws of          (foreign nation)

                                                and has its principal place of business in (name)


                                     (If more than one defendant is named in the complaint, attach an additional page providing the
                                     s   ame information   for   e   ac   h additi onal defendant.)

                          3.         The Amount in Controversy

                                     The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                     stake-is more than $75,000, not counting interest and costs of court, because (explain)'.




                                         D

m.             Statement of Claim

               Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
               facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
               involved and what each defendant did that caused the plaintiffharm or violated the plaintiffs rights, including
               the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
               write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.




IV.            Relief

               State briefly and precisely what damages or other relief the plaintiffasks the court to order. Do not make legal
               arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
               the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
               punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
               punitive money damages.




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v              Certification and Closing

               Under Federal Rule of Civil Procedure 1 1, by signing below, I certiff to the best of my knowledge, information,
               and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
               unnecessary delay, or niedlessly increase the cost of litigation; (2) is supported by existing law or by a
               nonfrivolous argument for extending, modiffing, or reversing existing law; (3) the factual contentions have
               evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
               opportunity foi further invistigation or discovery; and (4) the complaint otherwise complies with the
               requirements of Rule          1   1.


               A.         For Parties Without an AttorneY

                             agree to provide the Clerk's Office with any changes to my address where case-related papers may
                                                                                                                                  be
                          I
                           served. I understand that my failure to keep a current address on file with the Clerk's Off-rce may result
                           in the dismissal of mY case.


                           Date of   signing: 5 5-Zq

                           Signature of Plaintiff                                  \!
                           Printed Name of Plaintiff


                B.         For AttorneYs

                           Date of signing:


                           Signature of AttorneY
                           Printed Name of AttorneY
                           Bar Number
                           Name of Law Firm
                              Street Address
                              State and   Zip Code
                              Telephone Number
                              E-mail Address




                                                                                                                               Page 5   of   5
